                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                               WESTERN DIVISION

 UNITED STATES OF AMERICA,
                Plaintiff,                                       No. CR07-4068-MWB
 vs.                                                            REPORT AND
                                                             RECOMMENDATION
 ARMIN ASSADI-ZIARI,                                     CONCERNING PLEA OF GUILTY
                Defendant.
                                    ____________________


       On July 11, 2008, the above-named defendant, by consent, appeared before the undersigned
United States Magistrate Judge pursuant to Federal Rule of Criminal Procedure 11, and entered a
plea of guilty to Count Two of the Second Superseding Indictment. After cautioning and examining
the defendant under oath concerning each of the subjects mentioned in Rule 11, the court determined
that the guilty plea was knowledgeable and voluntary, and the offense charged was supported by an
independent basis in fact containing each of the essential elements of the offense. The court
therefore RECOMMENDS that the plea of guilty be accepted and the defendant be adjudged guilty.
       At the commencement of the Rule 11 proceeding, the defendant was placed under oath and
advised that if he answered any questions falsely, he could be prosecuted for perjury or for making
a false statement. He also was advised that in any such prosecution, the Government could use
against him any statements he made under oath.
       The court then asked a number of questions to ensure the defendant’s mental capacity to
enter a plea. The defendant stated his full name, his age, and the extent of his schooling. The court
inquired into the defendant’s history of mental illness and addiction to narcotic drugs. The court
further inquired into whether the defendant was under the influence of any drug, medication, or
alcoholic beverage at the time of the plea hearing. From this inquiry, the court determined that the
defendant was not suffering from any mental disability that would impair his ability to make
knowing, intelligent, and voluntary pleas of guilty to the charges.
       The defendant acknowledged that he had received a copy of the Second Superseding
Indictment, and he had fully discussed these charges with his attorney.



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          The court determined that the defendant was pleading guilty under a plea agreement with the
Government. After confirming that a copy of the written plea agreement was in front of the
defendant and his attorney, the court determined that the defendant understood the terms of the plea
agreement. The court then summarized the plea agreement, and made certain the defendant
understood its terms.
          The defendant was advised that any sentencing recommendation by the Government, or any
agreement not to oppose a particular sentence, would not be binding on the court, and the defendant
would have no right to withdraw his plea if such a recommendation or request were not accepted by
the court. The defendant was advised also that after his plea was accepted, he would have no right
to withdraw the plea at a later date, even if the sentence imposed was different from what the
defendant or his counsel anticipated.
          The court then summarized the charge against the defendant, and listed the elements of the
crime. The court determined that the defendant understood each and every element of the crime,
ascertained that his counsel had explained each and every element of the crime fully to him, and the
defendant’s counsel confirmed that the defendant understood each and every element of the crime
charged.
          The court then elicited a full and complete factual basis for all elements of the crimes
charged in each Count of the Second Superseding Indictment to which the defendant was pleading
guilty.
          The court advised the defendant of the consequences of his plea, including the maximum
fine, the maximum term of imprisonment, and the mandatory minimum term of imprisonment.
          With respect to Count Two, the defendant was advised that the maximum fine is $1,000,000;
the maximum term of imprisonment is 20 years; and the minimum period of supervised release is
three years.
          The defendant also was advised that the court is obligated to impose a special assessment
of $100.00, which the defendant must pay. The defendant also was advised of the collateral
consequences of a plea of guilty. The defendant acknowledged that he understood all of the above
consequences.




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       The court then explained supervised release to the defendant, and advised him that a term
of supervised release would be imposed in addition to the sentence of imprisonment. The defendant
was advised that among other conditions of supervised release, he could not commit another federal,
State, or local crime while on supervised release, and he could not possess illegal controlled
substances while on supervised release. The defendant was advised that there are other standard
conditions of supervised release, and the court could impose additional special conditions. The
defendant was advised that if he were found to have violated a condition of supervised release, then
his term of supervised release could be revoked and he could be required to serve in prison all or
part of the term of supervised release without credit for time previously served on supervised
release.
       The court also explained to the defendant that the district judge would determine the
appropriate sentence for him at the sentencing hearing. The defendant confirmed that he understood
the court would not determine the appropriate sentence until after the preparation of a presentence
report, which the parties would have the opportunity to challenge. The defendant acknowledged that
he understood the sentence imposed might be different from what his attorney had estimated. The
defendant also was advised that both he and the Government would have the right to appeal the
sentence. The defendant was advised that parole has been abolished.
       The defendant indicated he had conferred fully with his counsel and he was fully satisfied
with his counsel. The defendant’s attorney indicated the attorney had had full access to the
Government’s discovery materials, and they supported a factual basis for the plea.
       The defendant then was advised fully of his right to plead not guilty, or having already
entered a not guilty plea to persist in such plea, and to have a jury trial, including:
       1.      The right to assistance of counsel at every stage of the pretrial and trial proceedings;
       2.      The right to a speedy, public trial;
       3.      The right to have his case tried by a jury selected from a cross-section of the
               community;
       4.      That he would be presumed innocent at each stage of the proceedings, and would be
               found not guilty unless the Government could prove each and every element of the
               offense beyond a reasonable doubt;
       5.      That the Government could call witnesses into court, but the defendant’s attorney
               would have the right to confront and cross-examine these witnesses;

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       6.      That the defendant would have the right to see and hear all witnesses presented at
               trial;
       7.      That the defendant would have the right to subpoena defense witnesses to testify at
               the trial, and if he could not afford to pay the mileage and other fees to require the
               attendance of these witnesses, then the Government would be required to pay those
               costs;
       8.      That the defendant would have the privilege against self incrimination; i.e., he could
               choose to testify at trial, but he need not do so, and if he chose not to testify, then the
               court would, if the defendant requested, instruct the jury that the defendant had a
               constitutional right not to testify;
       9.      That any verdict by the jury would have to be unanimous;
       10.     That he would have the right to appeal, and if he could not afford an attorney for the
               appeal, then the Government would pay the costs of an attorney to prepare the
               appeal.
       The defendant also was advised of the rights he would waive by entering a plea of guilty.
The defendant was told there would be no trial, he would waive all the trial rights just described, and
he would be adjudged guilty without any further proceedings except for sentencing.
       The defendant then confirmed that his decision to plead guilty was voluntary and was not
the result of any promises other than plea agreement promises; no one had promised him what the
sentence would be; and his decision to plead guilty was not the result of any threats, force, or anyone
pressuring him to plead guilty.
       The defendant then confirmed that he still wished to plead guilty, and he pleaded guilty to
Count Two of the Second Superseding Indictment.
       The court finds the following with respect to the defendant’s guilty plea:
       1.      The guilty plea is voluntary, knowing, not the result of force, threats or promises,
               except plea agreement promises, and the defendant is fully competent.
       2.      The defendant is aware of the maximum punishment.
       3.      The defendant knows his jury rights.
       4.      The defendant has voluntarily waived his jury rights.
       5.      There is a factual basis for the plea.
       6.      The defendant is, in fact, guilty of the crime to which he is pleading guilty.




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       The defendant has executed a Consent to the Court’s Inspection of Presentence Report Prior
to Guilty Plea. The defendant was advised that a written presentence investigation report would be
prepared to assist the court in sentencing. The defendant was asked to provide the information
requested by the U.S. Probation Office to prepare the presentence investigation report. The
defendant was told that he and his counsel would have an opportunity to read the presentence report
before the sentencing hearing and to object to the contents of the report, and he and his counsel
would be afforded the opportunity to present evidence and be heard at the sentencing hearing.
       The defendant was advised that the failure to file written objections to this Report and
Recommendation within 10 days of the date of its service would bar him from attacking this court’s
Report and Recommendation, which recommends that the assigned United States District Judge
accept the defendant’s plea of guilty. A copy of this Report and Recommendation was served on
the defendant and his attorney at the conclusion of the proceeding.
       DONE AND ENTERED at Sioux City, Iowa, this 11th day of July, 2008.




                                             PAUL A. ZOSS
                                             CHIEF MAGISTRATE JUDGE
                                             UNITED STATES DISTRICT COURT




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